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                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

CHRISTOPHER WARD, INDIVIDUALLY                   §
REPRESENTATIVE OF THE ESTATES OF                 §
JOANN WARD, DECEASED AND B. W.                   §
DECEASED MINOR, AND AS NEXT FRIEND               §
OF R.W. A MINOR;                                 §
      Plaintiffs                                 §
                                                 §             No.5:19-CV-289
                                                 §
                                                 §
VS.                                              §
                                                 §
UNITED STATES OF AMERICA                         §
Defendant                                        §

                         PLAINTIFFS’ ORIGINAL COMPLAINT

       This case arises out of negligence by the United States of America and its agencies

causing the massacre at Sutherland Springs First Baptist Church on November 5, 2017.

Plaintiffs’ Christopher Ward, Individually and on behalf of the Estate of Joann Ward, of the

Estate of Brooke Ward and on behalf of Ryland Ward, a Minor Child bring this complaint under

the Federal Tort Claims Act, 28 U.S.C. § 2674 against the United States of America and would

respectfully show the following.




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                                          I.     PARTIES

1.1     Defendant is the United States of America.

1.2     Plaintiffs’ Christopher Ward, Individually and on behalf of the Estate of JoAnn Ward, of
        the Estate of Brooke Ward and on behalf of Ryland Ward, a Minor Child. reside in
        Sutherland Springs, Texas, within the jurisdiction of this Court.

                                    II.        BACKGROUND

2.1     Through several pieces of legislation spanning almost 30 years, Congress acted to block

individuals who present a known risk of violence from purchasing ﬁrearms. To that end,

Congress mandated that certain individuals must be ﬂagged in an instant criminal background

check system used by ﬁrearms sellers nationwide in the interest of public safety. The Air Force

and Department of Defense ignored three statutory mandates that required Devin Kelley’s entry

into the background check system: his domestic violence conviction, his conviction for a crime

punishable by imprisonment for over a year, and his commitment to a mental institution. As a

direct result of the Air Force and Department of Defense’s failure to ﬂag Kelley in the FBI

database, his domestic violence escalated into a murderous shooting rampage targeting his ex-

wife’s family and neighbors at the Sutherland Springs First Baptist Church on November 5,

2017.


A.      Congress passed key legislation to prevent shootings like the Sutherland Springs
        shooting.

2.2     Federal law makes it unlawful to sell a ﬁrearm to a person whom the seller knows or has

reasonable cause to believe is someone who (a) has been convicted of a misdemeanor crime of

domestic violence; (b) has been convicted of a crime punishable by imprisonment for longer than

a year; or (c) has been committed to any mental institution. 18 U.S.C. § 922(d)(1), (4), (9). These

categories of individuals are forbidden from possessing ﬁrearms. Id. § 922(g).



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2.3    Congress attempted to quell the dangers presented by mass shooters like Devin Kelley

before he was even born. Initially passed as the Gun Control Act of 1968, the law banned the

sale of ﬁrearms to those individuals with criminal histories and those individuals who have been

committed to mental institutions.


2.4    In 1993, Section 103 of the Brady Handgun Violence Prevention Act required the

Attorney General of the United States to establish an instant criminal background check system

that a ﬁrearm seller must use to determine whether the sale of the ﬁrearm violates 18 U.S.C. §

922. Under 18 U.S.C. § 922(t), a licensed dealer of ﬁrearms shall not sell or transfer to any

person without ﬁrst contacting the national instant criminal background check system.


2.5    Congress passed the Brady Bill to prevent shootings just like the Sutherland Springs

shooting. When the Brady Bill was introduced in the House, one of the Bill’s sponsors explained

that express purpose:


              “Mr. Speaker, I rise to strongly support today’s introduction of the

              Brady bill. Five years ago, a man named Larry Dale walked into

              Mercer’s Discount Foods in Tulsa, OK, and opened ﬁre on an

              unsuspecting crowd of shoppers. Dale’s rampage killed one person

              and severely wounded another. Many Oklahomans were outraged

              to learn that Dale, a convicted felon with a history of mental

              illness, had walked into a gun store the day before his crime, ﬁlled

              out a single form, and walked out with his instrument of death. The




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                   tragedy is that 5 years after Larry Dale proved how ﬂawed the

                   system is, the Brady Bill is not the law of the land. 1”


2.6    When the Brady Bill went to committee, the Chairman’s opening statement in the House
Subcommittee hearings noted that the Brady Bill would effectively prevent barred individuals
from purchasing ﬁrearms:

                   “We are meeting today to consider a bill whose time has come- the
                   Brady Handgun Violence Prevention Act.…

                   There is nothing complicated about this bill. … It will save lives.
                   The Brady bill will save lives that are being wasted in an epidemic
                   of handgun violence from Brooklyn to Florida and all across
                   America. And that is not theory that is fact.

                   After Brady passes, a convicted felon will no longer be able to
                   walk into a gun store, as thousands have done this year, and walk
                   out 10 minutes later with a murder weapon. State after State has
                   shown that waiting periods and background checks work. 2”

2.7       The committee issued the House Committee Report. Under the heading

“Summary and Purpose,” the committee reported:

                   The purpose of H.R. 1025 is to prevent convicted felons and other
                   persons who are barred by law from purchasing guns from licensed
                   gun dealers, manufacturers or importers.
The House report underscored that background checks are necessary to prevent violent offenders
from gaining access to ﬁrearms:

                   The experiences of States which require background checks before
                   ﬁrearm sales also indicate that many repeat offender criminals buy
                   guns directly from ﬁrearms dealers. For example, in California, a
                   background check intercepted 2,500 felons attempting to buy guns
                   from dealers last year. … Each year in Illinois some 3,000
                   prohibited persons seek to purchase ﬁrearms and are denied. 3

1
    Congressional Record, House, at H731 (Feb. 22, 1993).
2
    Brady Handgun Violence Protection Act, hearing before the Subcommittee on Crime and Criminal Justice of the
    House Judiciary Committee (Sept. 30, 1993).
3
    H. Rep. No. 103-344, Brady Handgun Violence Prevention Act (Nov. 10, 1993).

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2.8       In 1996, the Domestic Violence Offender Gun Ban, also referred to as the “Lautenberg

Amendment,” made it unlawful to sell ﬁrearms to anyone convicted of a misdemeanor crime of

domestic violence. Congress enacted the Domestic Violence Offender Gun Ban to “close [a]

dangerous loophole” in the gun control laws: while felons had long been barred from possessing

guns, many perpetrators of domestic violence are convicted only of misdemeanors. 4


2.9       In abusive relationships, the severity of domestic violence often increases over time, and

the presence of a ﬁrearm increases the likelihood of homicide. 5 Congress recognized that

“firearms and domestic strife are a potentially deadly combination.” 6                    As one Senator noted

during the debate over § 922(g) (9), “All too often, the only difference between a battered

woman and a dead woman is the presence of a gun.” 142 Cong. Rec. 22986 (1996) (statement of

Sen. Wellstone).


B.     Federal Law creates a mandatory, non-delegable duty for the Air Force to report a
conviction for domestic violence, incarceration for a crime punishable by more than one
year, and mental institution commitment.

2.10      Federal law requires Government agencies to report ineligible ﬁrearm purchasers to a

national database. Speciﬁcally, 34 U.S.C. § 40901(e)(1)(C) states that federal agencies that have

“any record of any person demonstrating” that the person should not be able to purchase a gun

“shall, not less frequently than quarterly, provide the pertinent information contained in such




4
  United States v. Castleman, 134 S. Ct. 1405, 1408–09 (2014) (citing United States v. Hayes, 555 U.S. 415, 426
(2009)).
5
  See id., at 14–15; Campbell et al., Assessing Risk Factors for Intimate Partner Homicide, DOJ, Nat. Institute of
Justice J., No. 250, p. 16 (Nov. 2003) (“When a gun was in the house, an abused woman was 6 times more likely
than other abused women to be killed”).
6
    See Voisine v. United States, 136 S. Ct. 2272 (2016) citing Hayes, 555 U.S. at 427.



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record to” the Attorney General for the national instant criminal background check system.

Section 40901(e) (1) (D) creates an obligation on agencies to correct and update these records.


2.11   Title 10, U.S.C. section 1562 requires that the Department of Defense establish a central

database of information on the incidents of domestic violence involving members of the armed

forces. This section also requires that all military departments, including the Department of the

Air Force, report domestic violence incidents.


2.12   It is Department of Defense policy that all Department agencies, including the

Department of the Air Force, comply with the (a) crime reporting requirements of the Uniform

Federal Crime Reporting Act of 1988; (b) reporting requirements for victim and witness

assistance notiﬁcations of the Victim's Rights and Restitution Act of 1990, and (c) reporting

requirements of the Brady Handgun Violence Prevention Act.


2.13   To that end, Department of Defense Directive 7730.47 and Department of Defense

Manual 7730.47-M implement federal criminal-incident reporting requirements. The Department

of Defense created the Defense Incident-Based Reporting System (DIBRS) as a central

repository of incident-based data. This central repository includes incidents of domestic violence

and criminal incident data. The Department of Defense has a non-delegable duty to monitor and

ensure compliance with Directive 7730.47 and populate data from DIRBS to the FBI’s National

Incident-Based Reporting System (NIBRS). The DIBRS is the tool the Department of Defense

uses to collect and transmit reportable criminal incidents to the FBI’s Uniform Crime Report

Program. The FBI’s NIBRS is used in background searches to determine whether an individual

is eligible to purchase a ﬁrearm.




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2.14   Department of Defense Manual 7730.47-M Volume 1, Enclosure 3, prescribes the

reporting data elements needed to comply with Federal criminal incident reporting pursuant to

federal law. Enclosure 3 states the Defense Incident-Based Reporting System:


              shall be used to centralize the collection of information that is
              reportable by the DoD Components pursuant to The Brady
              Handgun Violence Prevention Act of 1993, which requires the
              Department of Defense to report these eight categories to the
              FBI for purposes of prohibiting ﬁrearm purchases:
              (1) Persons who have been convicted in any court of a crime
              punishable by imprisonment for a term exceeding 1 year. …
              (4) Persons who have been adjudicated as mental defectives or
              who have been committed to a mental institution. …
              (7) Persons convicted in any court of a misdemeanor crime of
              domestic violence.
2.15 The United States Air Force had the responsibility to report court-martial convictions of
domestic violence, and commitments of active-duty soldiers to inpatient psychiatric or mental
healthcare facilities to the Department of Defense’s Incident-Based Reporting System database.



C.      The Department of Defense and Department of the Air Force have a history of
        failing to submit reportable incidents to the FBI’s National Instant-Background
        System database.

2.16   The United States Inspector General evaluated the Department of Defense and its

agencies, including the Department of the Air Force, process for reporting accurate criminal

incident data to the Defense Incident-Based Reporting System. The Inspector General issued his

ﬁndings in Report Number DOGIG-2015-011.


2.17   The Inspector General found that the Department of Defense “is not reporting criminal

incident data to the Federal Bureau of Investigation (FBI) … as required by Federal law.” As a

result, “10 years of DoD criminal incident data have not been provided to the FBI….” As an


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example of reporting failure, the Inspector General noted that between August 2012 and January

2013 the Air Force failed to report data to the Defense Incident-Based Reporting System because

the employee responsible had left the job and the replacement employee was not trained.


2.18   The Inspector General concluded:

               Our evaluation determined DoD has not completed the FBI’s
               requirements for the DIBRS database certiﬁcation; therefore, DoD
               does not report criminal incident data to the Attorney General,
               through the FBI.


2.19   Between approximately 2005 and 2015, the Defense Incident-Based Reporting System

database did not populate its data into the FBI’s National Incident- Based Reporting System.


2.20   Before 2016, the United States knew or should have known that failure to report criminal

incident data could foreseeably result in mass shootings. For example, on June 17, 2015, Dylan

Roof shot and killed nine people at Emanuel African Methodist Episcopal Church in Charleston,

South Carolina. Roof should have been blocked by the background check system from

purchasing the gun that he used to kill those victims. Then FBI Director James Comey

concluded: “But the bottom line is clear: Dylan Roof should not have been able to legally buy

that gun that day.” Director Comey promised to have a full review of the matter conducted by the

Inspection Division within 30 days.


2.21   In another high-proﬁle mass shooting, on April 16, 2007, Seung-Hui Cho shoot and killed

32 people on the Virginia Tech campus. In 2005, Mr. Cho had been adjudicated by a court to be

mentally ill and involuntarily committed to a mental health facility. However, because Virginia

state authorities had not reported Mr. Cho to the FBI, Mr. Cho was able to purchase the ﬁrearms

used in the shooting.



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                                    III.   DEVIN KELLEY

A.     The Air Force knows Devin Kelley’s violent history.

3.1    Devin P. Kelley had a long, troublesome history with the United States Air Force. Mr.

Kelley entered active duty on January 5, 2010. He was initially assigned to an Intelligence

Specialist program but was cut from the program due to poor grades. The United States then

transferred him to the 49th Logistics Readiness Squadron at Holloman Air Force Base, New

Mexico.


3.2    Between July 2011 and March 2012, the Air Force placed in Mr. Kelley’s employment

ﬁle at least four letters of counseling and at least ﬁve letters of reprimand. Mr. Kelley’s conduct

included failure to obey direct orders, creating a hostile work environment, making false

statements, and insubordination of a superior o                                                       ﬃcer. In at lea

was warned that his conduct was a criminal act. In at least three of these letters, the Air Force

told Mr. Kelley that he had proven that he could not be depended upon. In at least two of these

letters, the Air Force noted that Mr. Kelley could not always be trusted and had demonstrated a

disregard for the Air Force’s core values. In each of these letters, the Air Force warned Mr.

Kelley that future misconduct would lead to more severe punishment.


3.3    During Mr. Kelley’s service, he was caught trying to sneak ﬁrearms on to Holloman Air

Force Base. Military officers were advised that Kelley was attempting to carry out death threats

made to his commanding officers.


3.4    While serving in the Air Force, Mr. Kelley began dating Tessa K. Kelley (neé Loge) and

married her on April 12, 2011. She had a child from a former relationship. In late April of 2011,

Tessa Kelley moved into base housing on Holloman Air Force Base. Devin Kelley abused both

Ms. Kelley and her child on base. He would push and hit the child, often on the child’s head. On
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at least two occasions, Mr. Kelley hit the child hard enough to cause death or serious bodily

injury. On June 8, 2011, Tessa Kelley took her child to Gerald Champion Medical Center in

Alamogordo, New Mexico because he was vomiting. The attending pediatrician noticed not only

vomiting, but febrile seizure and bruising to the left side of the child’s face. A CT scan revealed

a fractured clavicle and subdural hemorrhage (bleeding on the brain). After the fact, Devin

Kelley admitted to the United States Air Force that he caused these injuries without excuse or

justiﬁcation. Devin Kelley produced a video confessing to his wrongful conduct.


3.5    The NM Children, Youth, and Families Department took the child into their custody.

3.6    Between June 24, 2011, and April 27, 2012, Devin Kelley also abused Tessa Kelley. He

would punch her, choke her, pull her hair, and kick her. Foreshadowing the violence to come,

Kelley threatened Tessa Kelley that if she ever told anyone about the abuse, he would “kill [her]

and [her] entire family.” He told her, “I could just bury you some where here in the desert and

nobody would ever ﬁnd you.” On April 23, 2012, while driving to El Paso, TX, Kelley took out

his gun and held it against Tessa Kelley’s temple and said, “Do you want to die?” Tessa Kelley

pushed the gun away and Mr. Kelley placed the gun in his mouth. He told her he would kill her if

she told anyone. Further, Tessa Kelley alleged that Devin Kelley sexually assaulted her during

the marriage. Devin Kelley admitted these facts to the Air Force in November 2012.


3.7    Devin Kelley abused Tessa Kelley multiple times and admitted this violent conduct to the

Air Force. At least once, Air Force security was called to the residence when Devin Kelley

choked Tessa Kelley for at least 15-20 seconds. Mr. Kelley admitted to the Air Force that there

was no justiﬁcation or excuse for his violent conduct.




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            B.    The Air Force commits Devin Kelley to a mental health facility.

3.8    As a result of Devin Kelley’s work conduct, threats made by Mr. Kelley, and the

domestic abuse of his wife and child, the Government ordered Kelley conﬁned to Peak

Behavioral Health Services. Peak is a private psychiatric hospital that has special programs for

the care of active duty service members. Upon information and belief, the United States has a

contractual relationship with Peak to offer inpatient commitment and therapy.


3.9    While receiving inpatient care at Peak, Mr. Kelley made several threats that if he were

picked up by Security Forces, he would go for their guns. While at Peak, Devin Kelley tried to

obtain ﬁrearms and conducted research into body armor. Mr. Kelley was trying to carry out

threats he made against his chain of command. He made these plans to purchase another ﬁrearm

because his other weapons had been conﬁscated by the Air Force, its agents, or contractors.


3.10   Devin Kelley escaped Peak Behavioral on June 7, 2012, by jumping a fence with

arrangements to purchase a ﬁrearm. Before he could, he was caught by Texas authorities the next

day.


C.     The Air Force convicts Devin Kelley of domestic violence, resulting in his
       incarceration for a crime punishable by more than one year.

3.11   The Air Force court-martial alleged several charges against Devin Kelley:

(a) Mr. Kelley violated UCMJ Art. 86 by ﬂeeing Peak Behavioral Health Services Facility;

(b) Mr. Kelley violated UCMJ Art. 128 by causing physical injury to his stepson, including the

broken clavicle and subdural hematoma; (c) Mr. Kelley violated UCMJ Art. 128 by holding a

gun to Tessa Kelley’s temple and asking if she wanted to die; and (d) Mr. Kelley violated UCMJ

Art. 134 by threatening to kill Tessa Kelley, members of her family, and members of his

squadron.


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               3.12 The probable cause ﬁndings for Mr. Kelley’s charges
               stated:

               The evidence presented during the hearing clearly indicates that
               the minor child … was subject to physical abuse. The evidence
               also indicates that Mrs. Tessa Kelley was assaulted by a weapon
               being placed against her head and that AIC Kelley had threatened
               her on other occasions. Finally, the evidence establishes that AIC
               Kelley left the Peak Behavioral Health Services facility, his place
               of duty, without authorization.

3.13   On July 10, 2012, the Air Force determined that Devin Kelley should be conﬁned while

awaiting trial because “it is foreseeable that [Mr. Kelley] will not appear for trial and/or will

engage in serious criminal misconduct.” As a basis for this conclusion, the Air Force noted:


               The Evidence shows a serious escalation of behavior involving
               ﬁrearms and threats after the physical abuse of a child. Particularly
               alarming is his decision to try to obtain another ﬁrearm while
               undergoing inpatient mental healthcare, conducting research on
               body armor, and then escaping from the facility late at night
               without authorization…
               Lesser forms of restraint are inadequate to mitigate the ﬂight risk
               he poses nor would they prevent him from carrying out the threats
               that he has made against others, especially given the forethought
               and planning that he showed by attempting to purchase another
               ﬁrearm and his escape from the mental health facility.
3.14   The Air Force General Court Martial Order No. 10 speciﬁcally noted at the top of the

order that this was a “Crime of Domestic Violence. 18 U.S.C. § 922(g)(9).” The citation to

section 922(g) (9) references the federal law that prevents individuals convicted of even a

misdemeanor crime of domestic violence from possessing a ﬁrearm.


3.15   Devin Kelley pleaded guilty to unlawfully striking Tessa Kelley, choking her, pulling her

hair, and kicking her. He also pleaded guilty to assaulting his stepson with force likely to

produce death or grievous bodily harm. His other charges were withdrawn and dismissed with

prejudice as a part of his plea deal. The Air Force sentenced Devin Kelley to 12 months of

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imprisonment, a bad-conduct discharge, and reduction in rank to airman basic (E-1). During Mr.

Kelley’s pre- and post-trial conﬁnement, the Air Force placed him on lockdown for suicide risk.

On April 10, 2014, the Air Force discharged Devin Kelley.


D.     The Air Force fails to report Devin Kelley’s domestic violence conviction, his
       incarceration for a crime punishable by more than one year, or his commitment to
       psychiatric inpatient care.

3.16   Under 18 U.S.C. § 922(d) and Dep’t of Defense Manual 7730.47-M, Vol. 1, Enclosure 3,

the United States Air Force (and its agents and employees) had a mandatory, non-delegable

obligation to report Devin Kelley’s indictments, convictions at court- martial, commitment to a

mental institution, and domestic violence to the FBI ﬁrearms database.


3.17   And the Department of Defense failed to ensure that its own directives were properly

enforced. The Air Force had an unacceptably high failure rate of which the Department of

Defense was aware. The Department of Defense’s failure to manage, supervise, and monitor the

Air Force’s repeated failures to comply also proximately caused Mr. Kelley’s conduct and

conviction to go unreported.


3.18   In 2014, the Inspector General of the Department of Defense evaluated the reporting

system’s compliance with its own mandatory procedures and policies. The principal ﬁnding of

this investigation condemned the performance of the Department of Defense. Speciﬁcally, it

found that the military was


               not reporting criminal incident data to the Federal Bureau of
               Investigation (FBI) for inclusion in the annual Uniform Crime
               Reports to the President, the Congress, State governments, and
               officials of localities and institutions participating in the Uniform
               Crime Report Program, as required by Federal law.




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3.19   As a result of this failure:

               10 years of DoD criminal incident data have not been provided to
               the FBI for inclusion in the annual uniform crime reports to the
               President, the Congress, State governments, and o                ﬃcials of
               localities and institutions participating in the UCR Program, as
               implemented in DoD Directive 7730.47 and DoD Manual 7730.47-
               M, Volume 1.

E.     The Air Force fails to submit Devin Kelley’s ﬁngerprint data and conviction to the
       FBI’s criminal background check database.

3.20   The FBI’s Next Generation Identiﬁcation database’s primary function is to provide the

FBI a fully automated ﬁngerprint identiﬁcation and criminal history reporting system. The failure

to populate this database with all the required ﬁngerprint records can allow someone to purchase

a weapon who should not, hinder criminal investigations, and potentially impact law

enforcement and national security interests.


3.21   Speciﬁcally, among other uses, the Next Generation Identiﬁcation information is checked

by Federal Firearms Licensees to instantly determine, through the FBI’s National Instant

Criminal Background Search System, whether a prospective buyer is eligible to buy ﬁrearms.

The failure to populate FBI databases with all the required ﬁngerprint records can result in

someone purchasing a weapon who should not.


3.22   The United States’ Inspector General admitted the allegations in Paragraphs 3.20 and

3.21 in Report No. DOGIG-2018-035, dated December 4, 2017. The Inspector General found

that the Military Services did not consistently submit ﬁngerprint cards and ﬁnal disposition

reports as required. The Inspector General stated:


               Any missing ﬁngerprint card and ﬁnal disposition report can have
               serious, even tragic consequences, as may have occurred in the
               recent church shooting in Texas.

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3.23   The Air Force criminal ﬁngerprints are submitted to the FBI either electronically or by

mail. In the time period sampled by the United States Inspector General, he found that the Air

Force Security Forces failed to submit ﬁngerprint cards and ﬁnal disposition reports the majority

of the time—in sixty (60) percent of cases.


3.24   In 2015, The Inspector General made recommendations to the Department of the Air

Force to correct errors in the submission of ﬁngerprint cards and ﬁnal disposition reports in

Report No. DOGIG-2015-081. The Air Force agreed with this recommendation. However, the

Air Force took no corrective action to ensure Devin Kelley’s ﬁnger prints or ﬁnal criminal

disposition reports were reported. And the Department of Defense did not follow its policy to

monitor compliance with these reporting requirements.


                                IV.     CAUSES OF ACTION

A.     The Department of the Air Force was negligent.

4.1    The Department of the Air Force negligently failed to report criminal incident data to the

Defense Incident-Based Reporting System of Devin Kelley’s criminal conviction of a crime

punishable by imprisonment for a term exceeding one year, convictions of domestic violence,

and commitment to the mental institution.


4.2    The Department of the Air Force failed to submit criminal-history data to the FBI when

probable cause existed in the Air Force Office of Special Investigations and Air Force Security

Forces investigations on Kelley, after Kelley’s court-martial conviction, and also upon his post-

trial conﬁnement at Holloman Air Force Base.




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4.3    The United States, through Secretary of the Air Force Heather Wilson, admitted the

allegations found in Paragraph 4.2 in response to a question by Senator Mazie K. Hirono in a

submission dated December 13, 2017.


4.4    Alternatively, the Department of the Air Force negligently submitted inaccurate or

incomplete criminal incident data to the Defense Incident-Based Reporting System of Devin

Kelley’s criminal conviction of a crime punishable by imprisonment for a term exceeding one

year, convictions of domestic violence, or commitment to the mental institution.


4.5    The Department of the Air Force negligently failed to correct incomplete or incorrectly

submitted criminal-incident data to the Defense Incident-based Reporting System of Devin

Kelley’s criminal conviction of a crime punishable by imprisonment for a term exceeding one

year, convictions of domestic violence, or commitment to the mental institution.


4.6    The Department of the Air Force negligently failed to submit ﬁngerprint cards and ﬁnal

disposition reports for Devin Kelley’s criminal convictions, or alternatively submitted

incomplete or incorrect data to the FBI as required by federal law. As a result, the FBI’s Next

Generation Identiﬁcation database lacked critical information about Devin Kelley’s history and

failed to prevent the sale of ﬁrearms to Devin Kelley.


4.7    Preliminary ﬁndings by the Air Force Inspector General conﬁrmed the Air Force Office

of Special Investigations and Security Forces personnel then assigned at Holloman Air Force

Base, New Mexico, did not report required information to civilian law enforcement in the Kelley

case. The review also found the error in the Kelley case was not an isolated incident and similar

reporting lapses occurred at other locations.




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4.8    In fact, the problem was widespread across both the Office of Special Investigations and

the Air Force Security Forces. A 2015 Defense Department audit revealed that the Air Force was

not in compliance with a mandatory statutory requirement to report all offender criminal history

data and, despite the discovery of non-compliance, the Air Force made no retroactive

corrections.


4.9    The Department of the Air Force admitted the allegations contained in Paragraph 4.7 in a

press release published on November 28, 2017. The Department of the Air Force, through the

Secretary of the Air Force Heather Wilson, admitted the allegations contained in Paragraph 4.8

on December 6, 2017 before the United States Senate Judiciary Committee.


B.     The Department of Defense was negligent.

4.10   The Department of Defense negligently failed to ensure that the Department of the Air

Force submitted the required criminal incident, ﬁngerprint cards, and ﬁnal disposition data.


4.11   The Department of Defense negligently failed to ensure that identiﬁed criminal incident

data errors are tracked to correction.


4.12   The Department of Defense negligently failed to populate data about Devin Kelley’s

criminal conviction of a crime punishable by imprisonment for a term exceeding one year,

convictions of domestic violence, and commitment to the mental institution from the Defense

Incident-Based Reporting System into the FBI’s National Incident-Based System.




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                                     V.        CAUSATION

A.     Department of Defense and Department of the Air Force’s negligence caused
injuries to the Plaintiffs’.

5.1     One or more of the above negligent acts of the Department of the Air Force and the

Department of the Defense directly and proximately caused injury to the Plaintiffs’.


5.2     When Devin Kelley attempted to purchase ﬁrearms to use in the Sutherland Springs

shooting, the FBI Incident-Based Reporting System should have included Devin Kelley’s

criminal conviction of a crime punishable by imprisonment for a term exceeding one year,

convictions of domestic violence, and commitment to the mental institution. The FBI’s database

did not contain any of this required information, or alternatively, contained incorrect or

incomplete information, as a direct and proximate result of one or more of negligent acts of the

Department of Defense and Department of the Air Force.


5.3     When Devin Kelley attempted to purchase ﬁrearms to use in the Sutherland Springs

shooting, the FBI’s National Instant Criminal Background Search System should have contained

Devin Kelley’s criminal history, populated from the FBI’s Next Generation Identiﬁcation

system. However, because of the Government’s negligence, Kelley’s ﬁngerprint identiﬁcation

and criminal disposition reports were not submitted to the FBI and the FBI’s Background Check

System did not contain Kelley’s convictions.


5.4     When Devin Kelley attempted to purchase the ﬁrearms used in the Sutherland Springs

shooting, the sale should have been blocked for one or more of the following reasons: (a) he had

a conviction of a crime punishable by imprisonment for a term exceeding one year; (b) he had a

conviction for domestic violence; and (c) he had previously been committed to a mental

institution.

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5.5    When Devin Kelley purchased the ﬁrearms used in the Sutherland Springs shooting, his

omission from the FBI’s background check system and ability to complete the purchase was a

direct, proximate, and foreseeable result of one or more acts of negligence of the Department of

Defense and Department of the Air Force.


B.    Had the Air Force reported Kelley’s history, the FBI’s Instant Criminal Background
      Check System would have blocked Devin Kelley’s ﬁrearm purchase.

5.6    Devin Kelley purchased the ﬁrearms used in the Sutherland Springs shooting in April

2016 from a federal ﬁrearms licensee, Academy Sports & Outdoor. At the time, the licensee

must submit biographical information about Kelley to the FBI’s Instant Criminal Background

Check System. If the Air Force had properly reported Devin Kelley’s history to the FBI, the

Background Check System would have informed the ﬁrearms dealer to deny the purchase.


5.7    The purpose of the Uniform Federal Crime Reporting Act of 1988, the Brady Handgun

Violence Prevention Act, and the Domestic Violence Offender Gun Ban are to ensure that

violent offenders and high-risk individuals like Mr. Kelley do not get access to ﬁrearms. The

Department of Defense in 1994 began designing the Defense Incident-Based Reporting System

(DIBRS) to meet criminal justice related reporting requirements mandated by the Uniform

Federal Crime Reporting Act and the Brady Handgun Violence Prevention Act. The DIBRS

permits the DOD to forward offense and arrest information required by FBI.


5.8    The entry into the federal law-enforcement database would have blocked Mr. Kelley’s

purchase of the ﬁrearms used in the Sutherland Springs’ shooting. The Government’s acts or

omissions directly and proximately resulted in Devin Kelley’s purchase of the ﬁrearms used in

the November 5, 2017 Sutherland Springs First Baptist Church shooting.




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                                       VI.     DAMAGES

6.1    Devin Kelley used the guns he purchased at Academy Sports & Outdoor to kill twenty-

six individuals and injured twenty others on November 5, 2017.


6.2    Ryland Ward was shot four times on November 5, 2017, with ﬁrearms that should have

been denied to Devin Kelley. As a result of the negligence of the United States employees,

agents, or representatives, Ryland Ward suffered past and future damages, for which recovery is

sought, including:


               Past and future physical pain & suffering; Past and future mental
               anguish;

               Past and future medical, healthcare, and attendant care expenses;

               Past and future physical impairment;

               Past and future physical disﬁgurement;

               Past and future lost income and earning capacity;

               Out of pocket expenses; and

               Other pecuniary damages.

6.3    In addition, Ryland Ward seeks recovery of all other damages to which he is entitled

pursuant to the applicable state and federal law.


6.4    As a result of the negligence of the United States employees, agents, or representatives,

Christopher Ward, Individually and on behalf of the Estate of JoAnn Ward, of the Estate of

Brooke Ward and on behalf of Ryland Ward, a Minor Child, have sustained damages and

injuries including:


               Past and future loss of consortium with their mother; Out of pocket
               expenses;


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                 Past and future medical, healthcare, and attendant care expenses;
                 Past and future value of attendant care services provided to Rylan
                 Ward up to the time of trial; and

                 Other pecuniary damages.

6.5       In addition, Christopher Ward, Individually and as next friend of Ryland Ward,

Christopher Ward on Behalf of the Estate of JoAnn Ward, and Brooke Ward, seek recovery of all

other damages to which they are entitled pursuant to the applicable state and federal laws(s).


                         VII.    JURISDICTION, VENUE, & SERVICE

7.1       This Federal District Court has federal-question jurisdiction of this action because this

action is brought pursuant to and in compliance with 28 U.S.C. §§ 1346(b), 2671–2680,

commonly known as the Federal Tort Claims Act.


7.2       Venue is proper in this district pursuant to 28 U.S.C. § 3191(e) (1) because the United

States is a defendant, Plaintiffs’ resides in this district, and no real property is involved in the

action.


7.3       The United States of America may be served with process in accordance with Rule 4(1)

of the Federal Rules of Civil Procedure. Service is affected by serving a copy of the Summons

and Complaint on the United States Attorney John F. Bash, United States Attorney for the

Western District of Texas by personal service, return receipt requested at his office:


                 United States Attorney’s Office
                 ATTN: Civil Process Clerk
                 601 NW Loop 410, Suite 600
                 San Antonio, Texas 78216

7.4       Service is also affected by serving a copy of the Summons and Complaint on Jeff

Sessions, Attorney General of the United States, by certiﬁed mail, return receipt requested at:



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                The Attorney General’s Office
                ATTN: Civil Process Clerk
                950 Pennsylvania Avenue, NW Washington, DC 20530-0001


                      VIII. LIABILITY OF THE UNITED STATES

8.1    This case is commenced and prosecuted against the United States of America to and in

compliance with Title 28 U.S.C. §§ 2671-80, the Federal Tort Claims Act. Liability of the United

States is predicated speciﬁcally on 28 U.S.C. § 2674 because the personal injuries and resulting

damages of which the complaint is made were proximately caused by the negligence, wrongful

acts or omissions of employees or agents of the United States of America working for the United

States Department of the Air Force or Department of Defense, while acting within the scope of

their employment, or agency under circumstances where the United States of America, if a

private person, would be liable to the Plaintiffs’ in the same manner and to the same extent as a

private individual.


8.2    The United States Departments of Defense and Department of the Air Force are agencies

of the United States. The Defendant, the United States of America, through its agencies, at all

times material to this lawsuit, owned and operated Holloman Air Force Base and sta                  ﬀed its

facilities and vehicles with its agents, servants and employees. The Defendant, the United States

of America, through its agencies, at all times material to this lawsuit, owned and operated the

Defense Manpower Data Center, which operates the Defense Incident-Based Reporting System.


8.3    This lawsuit is not a claim listed in 28 U.S.C. § 2680, exceptions to the Federal Tort

Claims Act.




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                          IX.     JURISDICTIONAL ALLEGATIONS

9.1    Pursuant to 28 U.S.C. §§ 2672 and 2675(a), the claims set forth here were ﬁled with and

presented administratively to the United States of America. The United States Department of the

Air Force acknowledge receipt on January 10, 2018, stating that it had received Plaintiffs’’

claims on January 9, 2018. Each claim stated a “sum certain.”


9.2    The United States failed to make ﬁnal disposition of this claim within six (6) months of

presentation of their claims. This action was ﬁled greater than six (6) months from the

presentation of the claims underlying the lawsuit.


9.3    Accordingly, Plaintiffs’ have complied with all jurisdictional prerequisites and conditions

precedent to the commencement and prosecution of this lawsuit.


                                          CONCLUSION


Plaintiffs’ request that Defendant be cited to appear and answer this Complaint; that upon ﬁnal

trial, the Plaintiffs’ have judgment against Defendant, for the amount of actual damages and for

other and different amounts as they shall show by proper amendment before trial; for post-

judgment interest at the applicable legal rate; for all Court costs incurred in this litigation; and for

such other relief, at law and in equity, both general and special, to which Plaintiffs’ may show

themselves entitled to and to which the Court believes them deserving.




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